Case 3:14-cr-01236-KC Document 186 Filed 12/06/24 Page 1 of 4

«Prob 12C (7/93)

UNITED STATES DISTRICT COURT

for

WESTERN DISTRICT OF TEXAS

Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Enrique Alfredo Tavares aka Mask

Case Number: EP-14-CR-01236KC(2)

Name of Sentencing Judicial Officer: Kathleen Cardone, U.S. District Judge

Date of Original Sentence: June 8, 2017

Original Offense: Conspiracy to Possess with Intent to Distribute a Quantity of Heroin, 21 U.S.C. §
846 & § 841

Original Sentence: Sixty-three (63) months custody and three (3) years of supervised release
Type of Supervision: Supervised Release

Date Supervision Commenced: April 29, 2022

Assistant U.S. Attorney: Stanley Michael Serwatka ‘Defense Attorney: Brock Morgan Benjamin
PREVIOUS COURT ACTION

On January 29, 2018, the Court re-sentenced Tavares and amended the judgment to include a term of
imprisonment of fifty-five (55) months with credit for time served while in state custody pending transfer
to federal custody and three (3) years of supervised release.

On September 18, 2023, Tavares’ term of supervision was revoked due to failing to notify his probation
officer of law enforcement contact within 72 hours, submitting a drug test which rendered positive
results for amphetamines and cocaine, and failing to follow the rules and regulations of the Location
Monitoring Program. He was sentenced to time served (27 days) followed by three (3) years of
supervised release.

On February 29, 2024, Tavares’ term of supervision was revoked due to failing to attend services at
Aliviane, using a controlled substance to wit: cocaine, and failing to follow the instructions of his
probation officer. He was sentenced to time served (44 days) followed by two (2) years of supervised
release.

On April 9, 2024, a Report on Offender Under Supervision was submitted by the probation officer
notifying the Court that on March 21, 2024, Tavares submitted a urine sample that yielded positive
results for amphetamines. The probation officer recommended no further court action to allow Tavares
the opportunity to participate in a substance abuse treatment program. On April 10, 2024, the court
accepted the probation officer's recommendation, and no further court action was taken.
Case 3:14-cr-01236-KC Documenti86 Filed 12/06/24 Page 2 of 4

Enrique Alfredo Tavares aka Mask

Docket No. EP-14-CR-01236KC(2)

Petition for Warrant or Summons for Offender Under Supervision
Page [2

On May 15, 2024, a Report on Offender Under Supervision was submitted by the probation officer
notifying the Court that on April 12, 2024, Tavares submitted a urine sample that yielded positive results
for amphetamines. The probation officer recommended no further court action to allow Tavares the
opportunity to continue to participate in a substance abuse treatment program. On May 20, 2024, the
court accepted the probation officer's recommendation, and no further court action was taken.

On October 9, 2024, a Report on Offender Under Supervision was submitted by the probation officer
notifying the Court that on or about September 13, 2024, Tavares was charged and arrested by the
Anaheim Police Department for the offenses of Domestic Violence:F:Inflict Corporal Injury-
Spouse/Cohabitant and Child Endangerment-Neglect Only. The probation officer recommended that
this new violation be held in abeyance and that no further action be taken at this time to allow Tavares
the opportunity to address his pending state charges to a final disposition. On October 11, 2024, the
court accepted the probation officer’s recommendation, and no further court action was taken.

PETITIONING THE COURT
[X] To issue a warrant

[] Toissue a summons

The probation officer believes that the offender has. violated the following conditions of supervision:
Violation Number 1: You must not commit another federal, state or local crime.

Nature of Noncompliance: According to El Paso Police Department Offense Report
Number 24-319041, on or about November 14, 2024, Tavares committed the offenses of
Agg Assault w/Deadly Weapon, in violation of Texas Penal Code § 22.02, Criminal
Mischief >=$750<$2500, in violation of Texas Penal Code § 28.03, and Terroristic Threat
Cause Fear of Imminent SBI, in violation of Texas Penal Code § 22.07. According to the
investigating officers, on said date, they were dispatched in reference to a domestic
dispute. Victim 2 advised officers she was driving to her mother’s residence and observed
that Tavares was following her in his vehicle. When Victim 2 arrived at her mother’s
residence, she observed that Tavares parked several houses down from her mother’s
residence. Victim 2 had parked her vehicle in the driveway, got her daughter out of her
car, and proceeded to go inside of the residence. Victim 2 stated she observed from one
of the residences windows that Tavares got out of his vehicle and approached her
mother’s residence. Victim 2 observed Tavares walk to the front passenger side of her
vehicle and kick the front passenger door to her vehicle causing damage without her
effective consent. Officers observed that Victim 2’s vehicle had a shoe print mark on the
front passenger door as well as damage where the shoe print mark was at. Victim 2
advised the damages to be approximately $2,000.00.

Victim 1’s other daughter came out of the residence and began yelling at Tavares to leave
the property in which a verbal argument ensued. Officers spoke with Victim 1 (Victim 2’s
mother), and she stated that during the argument, she began calling the emergency line
and heard Tavares state “kill them.” Victim 1 advised she was in fear for her life and began
Case 3:14-cr-01236-KC Document186 Filed 12/06/24 Page3of4

Enrique Alfredo Tavares aka Mask

Docket No. EP-14-CR-01236KC(2)

Petition for Warrant or Summons for Offender Under Supervision
Page [3

recording a small video of the incident which the officers observed. Victim 1 advised that
when the video recording ended, she observed Tavares pull out a black handgun and
point it at her. Victim 1 advised the officers that she was in fear for. her life as she believes
Tavares is going to kill her along with Victim 2 based on Tavares’ history. Victim 2 stated
that Tavares’ actions resembled he was holding a gun inside of his sweater pocket as
Tavares is known to carry weapons on him. Victim 2 also stated that she was in fear of
her life based on Tavares’ prior history with her.

Subsequently, on or about November 16, 2024, Tavares was arrested for the offenses of
Agg Assault w/Deadly Weapon, in violation of Texas Penal Code § 22.02, Criminal
Mischief >=$750<$2500, in violation of Texas Penal Code § 28.03, and Terroristic Threat
Cause Fear of Imminent SBI, in violation of Texas Penal Code § 22.07. On November 17,
2024, Tavares was released from custody on bond and the cases remain pending final
disposition in El Paso County, Texas.

Violation Number 2: If you are arrested or questioned by a law enforcement officer, you must notify
the probation officer within 72 hours.

Nature of Noncompliance: On or about November 16, 2024, Tavares was charged and
arrested for the offenses of Agg Assault w/Deadly Weapon, in violation of Texas Penal
Code § 22.02, Criminal Mischief >=$750<$2500, in violation of Texas Penal Code §
28.03, and Terroristic Threat Cause Fear of Imminent SBI, in violation of Texas Penal
Code § 22.07. On November 17, 2024, Tavares was released from custody on
bond. Tavares failed to notify his probation officer within 72 hours of his arrest on or
about November 16, 2024.

U.S. Probation Officer Recommendation:

The term of supervision should be
[X] revoked.
[ ] extended for years, for a total term of years.

[ ] modified as follows:

Respectfully submitted, Approved by,

%

Oe Dale Fg
Leobardo Moreno David C. Trejo

U.S. Probation Officer Supervising U.S. Probation Officer
Office (915) 585-5535 Office (915) 585-5576

Cellular (915) 202-5597 Cellular (915) 861-8369

Date: December 3, 2024
Case 3:14-cr-01236-KC Document186- Filed 12/06/24 Page 4of4

Enrique Alfredo Tavares aka Mask
Docket No. EP-14-CR-01236KC(2)

Petition for Warrant or Summons for Offender Under Supervision
Page |4 :

THE COURT ORDERS:
{ ] Noaction.
— The issuance of a warrant.

[ ] The issuance of a summons.

{ ] Other

thn faadne

Kafhleen Card6ne, U.S. District Judge

December 5, 2024
Date

